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                                                                                        United States Bankruptcy Court
                                                                                            Southern District of Texas

                                                                                               ENTERED
                          IN THE UNITED STATES BANKRUPTCY COURT                              August 12, 2024
                            FOR THE SOUTHERN DISTRICT OF TEXAS                              Nathan Ochsner, Clerk
                                     HOUSTON DIVISION

IN RE:                             §
                                   §                                CASE NO: 23-34815
GALLERIA 2425 OWNER, LLC,          §
                                   §                                CHAPTER 11
      Debtor.                      §
                                   §
ALI CHOUDHRI,                      §
                                   §
      Plaintiff,                   §
                                   §
VS.                                §                                ADVERSARY NO. 24-3120
                                   §
NATIONAL BANK OF KUWAIT, S.A.K.P., §
NEW YORK BRANCH,                   §
                                   §
      Defendant.                   §

                                    ORDER DENYING STIPULATION

The Stipulation (ECF No. 21) is denied as moot. The Court has already ruled on the Motion to

Remand (ECF No. 3) and will rule on the Motion to Dismiss (ECF No. 10) without a hearing based

on responsive pleadings.1

SO ORDERED.

            SIGNED 08/12/2024


                                                              ___________________________________
                                                              Jeffrey Norman
                                                              United States Bankruptcy Judge




1
    The responsive pleading deadline on the Motino to Dismiss has not passed.
1/1
